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Desc
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Attomey or Party Name, Address, Telephone & FAX Nos., State Bar No. &
Email Address :

MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 926710

Tel: (949} 531-6500

Fax: (949) 531-6501

[" Individual appearing without afforney
 Attomey for Kelli Peters, Bill Peters and Sydnie Peters

FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

In re:
Kent W. Easter, dba Kent Easter Consulting, dba Law
Offices of Kent W. Easter

Debtor(s).
Kelli Peters, Bili Peters and Sydnie Peters,

Plaintifi(s),
vs.

Kent W. Easter, dba Kent Easter Consulting, dba Law
Offices of Kent W. Easter,

Defendant.

CASE NO.: 8:16-bk-10223-ES
CHAPTER: 7
ADVERSARY NO.: 8:16-ap-01114-ES

NOTICE OF LODGMENT OF ORDER OR
JUDGMENT IN ADVERSARY PROCEEDING
RE: (title of motion’):

PLAINTIFE’S MOTION FOR
SUMMARY JUDGMENT

PLEASE TAKE NOTE that the order or judgment titled

[PROPOSED] ORDER RE: PLAINTIFFE’S MOTION FOR SUMMARY JUDGMENT

was lodged on (date) 11/17/2046

1 Please abbreviate if title cannot fit into text field.

and is attached. This order relates to the motion which is docket number 20 _.

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012

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Exhibit A
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bo me YN VN NY NBO Re BBP SP SF SO eS lh
Po RR PF OBB F SF BO ke AH AwH ROH HSH SS

MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
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Tel: (949) 531-6500

Fax: (949) 531-6501

Kelli Peters, Bill Peters and Sydnie Peters

In re:

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter

Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiffs,

VS.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

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ATTORNEYS FOR CREDITORS and PLAINTIFFS

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES

[PROPOSED] ORDER RE:
PLAINTIFF’S MOTION FOR

SUMMARY JUDGMENT

Date: November 10, 2016
Time: 10:30 a.m.
Department: 5A

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

On November 10, 2016, the “Motion for Summary Judgment” (the “Motion”) filed
by Plaintiffs Kelli Peters, Bill Peters and Sydnie Peters (“Plaintiffs”) came on for regularly
scheduled hearing before the Court. Robert H. Marcereau, of Marcereau & Nazif, and
Roger Friedman of Rutan & Tucker appeared as counsel for Plaintiffs; Charity Miller, of

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NOTICE OF CONTINUANCE OF STATUS CONFERENCE

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Goe & Forsythe, LLP, appeared as counsel for Kent W. Easter (the “Debtor” or
‘“Defendant”).

The Court, having read and considered the Motion, Defendant’s opposition, and the -
reply papers filed by the Parties, and having considered the evidence submitted by the
parties and the arguments of counsel, HEREBY ORDERS that the Motion is GRANTED
IN PART and DENIED IN PART as follows:

1. The Court DENIES Plaintiffs’ Motion for Summary Judgment without
prejudice as to Plaintiffs Bill Peters and Sydnie Peters;

2, The Court GRANTS partial Summary Adjudication in favor of Plaintiff Kelli
Peters as to nondischargability under §523(a)(6). This order is based on, among other
things, Paragraph 1 of the stipulation signed by Kent W. Easter in which he admits.conduct
sufficient to satisfy each element of nondischargeability under 523(a)(6);

3. Given the pending appeal of the Superior Court judgment, at this time the
Court does not rule on the amount of damages (compensatory or punitive) that are
nondischargeable;

4. The adversary proceeding shall proceed as to all remaining issues, subject to

Plaintiff bringing a further Motion for Summary Judgment.

Dated:

Erithe A. Smith
Bankruptcy Judge

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NOTICE OF CONTINUANCE OF STATUS CONFERENCE

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): NOTICE OF LODGMENT OF ORDER OR
JUDGMENT IN ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d}; and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General’
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/17/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.com, rgoe@goefcriaw.com; goeforecf@gmail.com

Trustee, Weneta M. Kosmala: ecf.alert+Kosmala@titlexi.com; wkosmala@txitrustee.com; dmf@txitrustee.com;

kgeorge@kosmalalaw.com

United States Trustee: ustpregion16.sa.ecf@usdoj.gov
L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (dafe) 11/17/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant: . Attorney for Debtor/Defendant: Trustee:

Kent W. Easter Robert P. Goe Weneta M Kosmala

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18107 Von Karman, Ste 1200 Santa Ana, CA 92707

Irvine, CA 92612
Judge: Hon. Erithe A. Smith, U.S.
Bankruptcy Court Central District, 411
W. Fourth St., Suite 5040 / Cirm 5A,
Santa Ana, CA 92701-4593

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISION OR EMAIL (state method for
each person or entity served}: Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/17/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
detivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

[_] Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/17/2016 Nicole Lipowski sf Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
